AO 85 (Rev. 02/17) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                       for the
                                                         Eastern District of North Carolina

                 LILLIE BROWN CLARK, et al.                                    )
                                 Plaintiff                                     )
                                    v.                                         )     Civil Action No.    2:21-cv-00034-FL
          INVESTIGATOR DANIEL MEADS, et al.                                    )
                               Defendant                                       )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge
may exercise this authority only if all parties voluntarily consent.


        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


        Printed names of parties and attorneys                               Signatures of parties RU attorneys                   Dates
Defendant Sheriff Tommy S. Wooten II,                                /s/ Christopher J. Geis                                    05/24/2022
Christopher J. Geis, attorney
Defendant Western Surety Company,                                    /s/ Christopher J. Geis                                    05/24/2022
Christopher J. Geis, attorney




                                                                    Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                   District Judge’s signature



                                                                                                    Printed name and title

Note:     Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
          magistrate judge. Do not return this form to a judge.


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